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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
                                 (CAMDEN VICINAGE)

In re:                                                 (Hon. Gloria M. Burns)

Shapes/Arch Holdings L.L.C.,                           Chapter 11
Shapes L.L.C., Delair L.L.C., Accu-Weld
L.L.C., and Ultra L.L.C.                               Lead Case No. 08-14631 (GMB)
                                                            (Jointly Administered)
                Debtors


                                  CERTIFICATE OF SERVICE

         I, David B. Aaronson, hereby certify that on the date set forth below, I caused to be

served by United States mail a copy of the foregoing COMBINED OBJECTION TO (I)

CONFIRMATION              OF    DEBTORS’         THIRD       AMENDED       JOINT   PLAN    OF

REORGANIZATION AND (II) DEBTORS’ MOTION TO DISALLOW CLAIMS FOR

CONTRIBUTION AND IN THE ALTERNATIVE TO ESTIMATE CLAIMS upon the

attached service list.

Dated: July 2, 2008                                    By: /s/ David B. Aaronson
                                                               David B. Aaronson
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